FILED: MONROE COUNTY CLERK 05/11/2018 10:35 AM                                                                                                                                INDEX NO. E2018003401
NYSCEF DOC. NO. 1                                                                                                                                               RECEIVED NYSCEF: 05/11/2018




             STATE              OF      NEW YORK
             COUNTY                  OF MONROE                                    SUPREME               COURT




             RONNIE               EDGESTON
                                                                           Plaintiff,
                                                           -vs-                                                                     SUMMONS
                                                                                                                                    Index         no.:


             CITY         OF ROCHESTER,                             ROCHESTER                   POLICE           DEPARTMENT,                            ROCHESTER
            POLICE               OFFICERS                 PAUL         ROMANO,                 E. ALEXANDER,                         MAZURKIEWICZ,                               AND
            THOMAS                   KIRK




                                                                           Defendants.




                           To       the       above-named              defendants:


                           You          are     hereby      summoned                and      required       to serve         upon      plaintiff's               attorney        an
            answer             to the     complaint           in this        action       within        twenty     (20)       days     after        the        service        of this

            summons,                exclusive            of the      day     of   service,         or within       thirty      (30)     days           after      service       is
            complete             if this        summons             is not     personally           delivered           to you      within         the        State      of New
            York.         In    case       of   your      failure      to answer,            judgement           will       be taken            against         you      by   default
            for     the    relief         demanded           in the        complaint.


                           The        basis      of the      venue         designated           is the     residence          of the         plaintiff,           which        is 289
            Campbell                Street,      Rochester,           New         York       14611.




            Dated:         May          10,     2018

                           Rochester,              New       York



                                                                                                                                            y       b       itted,




                                                                                                                   The       Foti     Law         Firm          P.C.
                                                                                                                   Attorneys            for       Plaintiff
                                                                                                                   Neil      Gunther,             of      Counsel
                                                                                                                   16 West            Main         Street,         Suite       236

                                                                                                                   Rochester,               New          York         14614
                                                                                                                   Phone:           (585)        461-1999
                                                                                                                   E-mail:neil@fotilaw.corn




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             STATE             OF      NEW YORK
            COUNTY                  OF MONROE                                          SUPREME                   COURT




            RONNIE               EDGESTON
                                                                            Plaintiff,
                                                              -vs-                                                                                 COMPLAINT
                                                                                                                                                   Index          no.:


            CITY         OF ROCHESTER,                               ROCHESTER                          POLICE             DEPARTMENT,                                   ROCHESTER
            POLICE             OFFICERS                    PAUL            ROMANO,                     E. ALEXANDER,                                MAZURKIEWICZ,                                     AND
            THOMAS                  KIRK


                                                                            Defendants.




                          The        Plaintiff,           Ronnie           Edgeston,               by    his       attorneys,            The            Foti      Law         Firm        P.C.,



            complaining                of the           Defendants                herein,         alleges          and     shows             to the            Court      as follows:


                          1.               At     all     relevant          times,          the     Plaintiff,            Ronnie             Edgeston,                 was,        and     is, a


            resident        of      289        Campbell              Street,           Rochester,           New           York.


                          2.               At     all     relevant          times,          the     Defendant,               City        of Rochester,                     was,           and     still        is, a


            municipal            corporation                  duly     organized                 and     existing           under            and        by     virtue         of    the     laws          of      the


            State       of New         York,            and     maintains                an office          for     the     conduct                of    its     business            at 30        Church



            Street,      Rochester                New         York.


                          3.               At     all     relevant          times,          the     Defendant               City        of     Rochester                 assumed                and       still



            assumed,             and      maintained,                and       still     maintains,               responsibility,                   supervision,                   control,           and



            authority          over       the     Rochester                City         Police      Department                    .


                          4.               At     all     relevant          times,          Defendant               Paul       Romano                   is and/or          was        employed                    as a


            police       officer          by    the      City        of Rochester,                and       was       acting          for,     upon             and      in the       course              of      and


            in furtherance                of the         business           of     his      employer              and      within            the        scope         of his       employment.




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                           5.                 At        all    relevant               times,        Defendant                  E. Alexander                      is and/or             was      employed                as a


            police      officer              by     the        City         of Rochester,                  and       was        acting          for,        upon         and         in the     course        of    and


            in furtherance                   of the            business               of his        employer               and     within                the     scope         of     his     employment.


                           6.                 At        all    relevant               times,        Defendant                  Thomas               Kirk         is and/or             was      employed                as a


            police      officer              by    the         City         of Rochester,                  and       was        acting          for,        upon         and         in the     course        of    and


            in furtherance                   of the            business               of his        employer               and     within                the     scope         of his         employment.


                           7.                 At        all    relevant               times,        Defendant                  Mazurkiewicz                          is and/or          was      employed                as


            a police         officer              by     the     City           of Rochester,                  and       was      acting             for,       upon          and      in the        course        of


            and      in furtherance                      of the           business             of his       employer               and         within            the     scope          of his


            employment.


                           8.                 At        all    relevant               times,        the     Defendant                 City          of     Rochester                 assumed,           and    still



            assumes,            responsibility                        and        liability          for    the      acts       and/or          omissions                  of the        Defendant             City


            of Rochester                Police                Department                     and    Defendant                  Police          Officers                Paul      Romano,               E.



            Alexander,                Mazurkiewicz,                             and     Thomas             Kirk.


                           9.                 On May                  10, 2017,                within       ninety             days         after        this     claim          arose,        plaintiff


            served       a Notice                 of     Claim             in compliance                    with         the     General                 Municipal               Law,         including


            notice      of      all    the        causes             of     action           herein,        upon         Defendant                   the        City     of     Rochester              by


            personal            service            to and             accepted               by    an individual                 with          the        initials        MKG               at the     Law


            Department                 for        the     City         of       Rochester               (See       Exhibit            A).


                         7.                   On May                  11, 2017               Defendant               sent       a notice             requesting                 to take         oral


            examination                pursuant                 to        Section            50-H         of the      General               Municipal                   Law          on June         6, 2017,,           at


            the   Office          of    Corporation                         Counsel,               30     Church           Street,           Room              400A           City     Hall      Rochester,


            New       York.           (See         Exhibit                B).




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                            8.               The         Plaintiff        was        unavailable                 for     the       examination                    pursuant              to Section               50-



            H     because          he was           incarcerated.                  The      Plaintiff              and     Defendant                    agreed          that     the     Plaintiff


            could        commence                  an action             against         the     Defendant                    prior       to the          Defendant               conducting                 a



            hearing         or physical                  examination                 of the       Plaintiff              pursuant                to     Section         50-H        of the         General


            Municipal             Law          under         the     stipulation               that     the        Plaintiff             shall        make        no     discovery             demands,


            issues        shall       not      be joined,             and      the     Defendant's                     time        to serve             an answer               shall     be extended


            until       30 days          after       the      completion               of the          50-H          hearing.             (See          Exhibit         C).


                           9.                No settlement                   has       been      reached               or agreed                 upon       between             the      parties



            following             the       aforementioned                     hearing.


                            10.              This        action        has      been       commenced                      within           one          year      and     ninety          days       after        the



            happening              of the         event         upon        which          the    claim            is based.



                            11.              The         causes       of action            herein         accrued               on       or about              February            11,     2017,       when



            after       fleeing         from        the      Rochester             Police         Department                       the     Plaintiff            surrendered               to members



            of the       Rochester                Police         Department                and        was       subjected                 to the          excessive             use      of   force



                           the    course            of    an arrest            which        included               but     was           not      limited         to punching                 and     kicking
            during


            the     complainant                  multiple            times       causing              physical            injury.


                                                                               FIRST           CAUSE                OF ACTION:


                                                  ASSAULT/BATTERY/EXCESSIVE                                                                USE           OF FORCE


                            12.              Plaintiff          repeats          and       adopts         paragraphs                      1 through               11 of this            Complaint.



                            13.              As     the      Plaintiff           surrendered                  to members                       of the       Rochester              Police



            Department                  in the       backyard             of    343        Orange             Street          by      laying            down       on     his     stomach             the



            Plaintiff           was      subjected              to   illegal         and      excessive                physical                force.




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                            14.                Members             of the         Rochester                   Police          Department                subjected                the    Plaintiff        to


            unlawful             physical             violence,            assault,            and       battery          which            included              punches           and       knee



            strike(s).


                            15.                The     physical            attack           on the            Plaintiff         was         so severe             and     excessive             that     his


            left      orbital      bone         was         fractured            and        his       ribs     were       bruised             as a result            of kicks            and    punches.


                            16.                The     Members                 of the        Rochester                 Police         Department                   had      no     legal       authority


            to physically                 attack        the      Plaintiff            and        break          his    left     orbital         bone         and        bruise         his   ribs.


                            17.             The        Plaintiff           did       not       cause          or contribute                 to any          of    the     physical           assault          and



            battery         on     his     person.            He did           not     authorize                or consent             to the          physical            violence            and      force


            used        on him.



                            18.             As       a result        of assault/battery,                           Plaintiff          was        subjected              to humiliation,



            ridicule,           and      disgrace            and     was         otherwise                   psychologically,                    physically,               and         economically


            injured         and        damaged.


                            19.             Specifically,                 the        Plaintiff           suffered             physical            injury          including             a fractured             left


            orbital        bone          and    bruised            ribs        which         caused             him       to suffer            substantial               and      prolonged             pain.



                           20.              The        named          Defendants,                      and/or          its/their           officers,         agents,           servants,             and/or



            employees,                 acted         with     a knowing,                   willful,            wanton,           grossly          reckless,              unlawful,



            unreasonable,                  unconscionable                        and       flagrant             disregard             of     Plaintiff's            rights,        privileges,


            welfare         and        well-being              and        were         guilty          of      egregious              and      gross        misconduct                  towards          him.


                           21.              The        amount             of    damages                in this         action         exceeds              the    jurisdictional               limits         of



            all    New          York       State        courts        except            that      of the          New          York         State       Supreme                Court.


                                                                           SECOND                     CAUSE               OF ACTION:


                                NEGLIGENT                        SCREENING,                           HIRING,                 RETENTION,                         SUPERVISION




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                          22.                 Plaintiff            repeats         and     adopts               paragraphs                 1 through               21     of this         Complaint.


                          23.                 Hiring            police       officers           who          can          conduct          a lawful              arrest      and        file     lawful



             charges       is a reasonable                        requirement                 of     any        law        enforcement                   agency.



                          24.                 Upon             information              and        belief,           the       officers         involved              in the       assault/battery                      of



            the    Plaintiff           were         hired          and     retained           by      the        Rochester                Police         Department                 without               a



            reasonable               assessment                  as to their           ability            to understand                    when          they       are      permitted               to



            conduct            an arrest            and         when       the     use     of force                  is permissible.



                          25.                 Upon             information              and        belief,           the       officers         were       not      disciplined                 or



            reprimanded                 for        the     unlawful              arrest       or use            of       excessive           force        in this         incident.


                          26.                 The        Rochester               Police         Department                      have       access         to the          New       York             State


                                                                                                                                                                   officers'
            Criminal            Procedure                  Law       and      are      capable             of        determining                that      the                           have         used



            excessive            force         in this           case,     but      upon           information                   and      belief,         not      action         has      been           taken.



                          27.                 Upon             information             and         belief,           the       Defendant               Officers           Paul      Romano,                   E.



            Alexander,               Mazurkiewicz,                        and      Thomas              Kirk              and    any       other        officer          involved               in the



            incident           was      not        properly              screened          by       the      Rochester                 Police          Department                 and          Defendant



            City     of   Rochester,                     nor     have      they      been          terminated                    following              a demonstration                        of unlawful



            arrests,      the        filing         of unlawful               charges,              and       the         use     of   excessive                force,       as well            as other



            professional               misconduct.


                          28.                 As     a result            of the      negligent               and/or             reckless            failure        by       the   Defendant                   City


            of Rochester                and         Rochester              Police         Department                       to screen            police           officers         for      an ability              to


            conduct        lawful             arrests,            engage          in appropriate                         use    of force,           and       other         misconduct,                   and/or



            the    negligent             and/or            reckless          failure          to terminate                      the    police          officers           who      have




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             demonstrated                 such      an inability,            plaintiff              suffered           unlawful              arrest      and      psychologically,


             physically,            and     economically                  injured             and       damaged.


                           29.             The      amount          of damages                   in this          action        exceeds           the jurisdictional                  limits          of


             all   New       York         State        courts     except         that         of the       New          York          State       Supreme             Court.



                                                                          THIRD               CAUSE               OF ACTION:


                           NEGLIGENT                      SCREENING,                      TRAINING,                     RETRAINING,                           SUPERVISION


                           30.             Plaintiff         repeats        and      adopts              paragraphs               1 through              29    of this         Complaint.


                           31.             The      Defendants              City         of     Rochester              and       Rochester               Police        Department               have


            a basic        responsibility                to train       police           officers          when          they         are    permitted            to conduct           a lawful


            arrest.


                           32.             The      incident         in question                 demonstrates                   that        the   Rochester              Police


            Department               was        negligent         and/or         reckless                in its      training          of    officers         regarding           when         they


            may        legally       and        appropriate            engage            in the         use     of    force.


                           33.             The      officers        used      unlawful                  excessive             force.



                           34.             The      Rochester             Police          Department                   has      the     ability         and     responsibility              to train


            officers        to refrain            from      the     conduct          that         was       exhibited            against          the     Plaintiff          in this     case.


                           35.             Upon          information             and          belief,       the      Defendant                Officers          Paul        Romano,            E.



            Alexander,              Mazurkiewicz,                   and     Thomas                Kirk         and     any      other         officer         involved          in the


            incident         were      not       properly         trained           by     the      Rochester                Police          department               and      Defendant



            City       of Rochester.


                           36.             As     a result        of the      negligent                  and/or        reckless             failure      by     the    Defendant               City


            of     Rochester          and        Rochester           Police         Department                    to train        police          officers         to conduct            lawful




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            arrests,      engage      in appropriate                 use    of     force,     the   plaintiff          suffered           unlawful            arrest        and      was



            psychologically,             physically,             and       economically             injured          and       damaged.


                         37.          The      amount           of damages                in this   action       exceeds          the       jurisdictional                 limits     of


            all    New     York     State      courts        except         that     of the     New      York          State      Supreme              Court.



                         WHEREFORE,                      Plaintiff         demands           judgment           against         Defendants,                 and      each       of



            them,      jointly     and      severally,          together           with     attorney         fees,     and      the       costs      and      disbursement                 of


            this    action.


            Dated:       May       10, 2018
                         Rochester,          New         York


                                                                                                                           e          1     submitted,




                                                                                                                                      aw Firm               P.C.

                                                                                                                Attorneys             for     Plaintiff
                                                                                                                Neil       Gunther,           of     Counsel
                                                                                                                16 West           Main            Street,      Suite        100

                                                                                                                Rochester,                New       York           14614
                                                                                                                Phone:          (585)        461-1999
                                                                                                                E-mail:         neil@fotilaw.com




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              STATE             OF NEW           YORK
              COUNTY               OF MONROE                                    CITY         OF ROCHESTER

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              RONNIE             EDOESTON                                                                                                                          tW                           Jl >
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                                                                                                                                                          ROGHKS'II@
                                                                                                                                                          ROGHKSTIS
                                                                           Claimant,                                                             BLTAY gF
                                                                                                                                                 t>TY
                                                          -vs-                                                                           NO            CE OF CLAIM




              THE       CITY        OF ROCHESTER,  ROCHESTER     POLICE  DEPARTMENT,      ROCHESTER
              POLICE            OFFICERS    PAUL ROMANO,   E. ALEXANDER,     MAZURKIEWICZ      AND
              THOMAS               KIRK




                           PLEASE                TAKE            NOTICE,               Mark         A.     Foti,      Esq.,         an attorney             admitted            to practice              in the


              State     of New           York,     affirms             under       penalty      of perjury                 pursuant           to CPLR             2106     that:


                                                                                                                                                              '          claimant"
                           1.             I represent             Ronnie           Edgeston,             (hereinafter               referred         to as        the    claimant").


                           2.             The      facts        and      statements           contained               in     this      affirmation            are       based      upon            my


              personal          knowledge            and         also      upon       information               and         belief,       the    sources           of    which         are         my


              personal          investigation,                discussions           with      the        claimant,           his      family         members,             and      others,          as


              well      as my        review         of     numerous                documents               including            discovery              materials           and       relevant


              legal     authorities.



                           3,             The      claimant             makes        claim      against            the      above-named                 defendants,                and,       in    support



              themof,        states:


                           4.


                           a.             The     name           and     post      office     address           of the         claimant          is Ronnie              Edgeston,             his


              address       in 289        Campbell               Street,       Rochester        NY           14611.


                           b.             The     name           and     post      office     address           of the         Claimant's              attorney          is The        Foti


              Law     Firm       P.C.,      Mark         A.     Foti,      Esq.,      16 West            Main        Street,          Suite     236,     Rochester,              New


              York       14614.




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                             5.                   The    nature         of the        claim        includes,                but     is not      limited          to,    assault,           battery,


              excessive               use of force,                 intentional             infliction          of     emotional              distress,          unlawful             arrest        and



               imprisonment,                      by Rochester                 Police        Officer           and      negligent              screening,              hiring,        training             and


               supervision                  of Rochester               Police         Department                 employees,                  including            Officers           Paul       Roman


              #0188,         E. Alexander.                     Mazurkiewicz,                     and      Thomas              Kirk          #2038,        for    violation            of the


              claimants               rights       under            the Fourth          and       Fourteenth                 Amendments                   of the         US Constitution


              and     42 USC                 1983       and         1988,      and      corresponding                   rights          under        Article           1, Section            12 of the


              New         York         State        Constitution                and     NY        Civil        Rights             Law       Section        8 (and          any       other       relevant


              sections           of     that      body        of law)          prohibiting               the    use of excessive                      force.


                            6.                    The    claim         accrued           on or about                  February              11, 2017            at 721         Jay    Street,         in



              Rochester,               New          York,           when       upon         information                and        belief,      the claimant                had       surrendered                  to


              members             of the           Rochester                Police      Department                    and     was       subjected             to the excessive                   use of


              force       during            the     course          of the      arrest        on February                    11, 2017,          which           included             but     is not


              limited        to punching                 and         kicking          the     complainant                   multiple           times       causing             physical          injury.


                            4.                    Upon        information               and      belief,         as a result                of the excessive                   use of       force          used



              by    the    Rochester                 Police          Department                during          the     course           of an unlawful                  arrest        on     February


               11, 2017,              the    Claimant               suffered         a fractured               left    orbital          bone,        bruised           ribs,     emotional


                                                                                                                                                        attorneys'
              distress,          mental            and      physical           suffering,           punitive            damages,               and                               fees.


                            5.                    The    amount             of damages              in this           action         exceeds          the jurisdictional                     limits         all


              New         York         State        courts          except        the New           York            State         Supreme            Court.



                            WHEREFORE,                               claimant           demands            judgment                 against          defendants                in an amount                 to


              be determined                     upon        trial     of this        action,        together            with         the     costs     and       disbursements                   of this



              action,       and         legal       fees.




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                Dated:   AtTirmed     May 9, 2017
                         Rochester,    New York

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                                                                AJAAN

                                                               Mark       A.   Foti,     Esq.

                                                               Attorney        for     Ronnie          Edgeston
                                                               The    Foti     Law       Firm         P.C.
                                                               16 W.       Main        Street,        Suite     236

                                                               Rochester,         New        fork            14614

                                                               Tel:(585)          461-1999
                                                               Emaikmark@fotilaw.com




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           In the
          .In         Matter           of the         Claim         of


           RQNNIE            EDGESTON
                                                                                                                                                 NOTICE    TO TAKE   ORAL
                        -against-                                                                                                                EXAMINATION     PURSUANT
                                                                                                                                                 TO GENERAL     MUNICIPAL
                                                                                                                                                 LAW SECTION     504
          THE        CITY        OF ROGHESTER,                               etal




                        PLEASE               TAKE            NOTICE                 that      pursuant               to        Section           50-h        of     the         General          Municipal



          Law,        the         undersigned                       Will        examine                  and         take            testimony                    of         claimant,              RONNIE


          EQGESTON,                    on       Tuesday,                 June        6,     2017,          at    10:00            a.m.,       before              an        individual          authorized


          to    administer             oaths,           at    the        Office       of     the         Corporation                     Counsel,            30        Ghurch             Street,       Room


          400A        City        Hall,           Rochester,                New            York.           Said           examination                     will         be       had       as
                                                                                                                                                                                          .as    to    all      the


          relevant           facts          and         circumstances                         in        connection                   with           the          claim           herein,            including


          negligence,              contributory                negligence                   and         damages




          DATED:             May          11,       2017                                                 BRIAN
                                                                                                        .BRlAN
                                                                                                        .BRIAN            F.                      N,      Corporation                    Counsel




                                                                                       BY;"
                                                                                       BY:
                                                                                                   PA           IC                   TH,         Esq.,       of     Counse|

                                                                                               Attomey                for        Defendants
                                                                                                   30    Church                Street,       400A          City          Hall

                                                                                                   Rochester,                  NY        14614
                                                                                               Telephone:                        (585)       428-6812




          TO:        Mark        A.    Foti,.        Esq.
                     The        Foti      Law        Fimr
                     Attomeys               for     Claimant
                     16    W.     Maiti           Street,      Suite         236
                     RochesterpNY                      14614

                     (586)       461-1
                                 481-1999 999




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NYSCEF DOC. NO. 1                                                                                                                                                            RECEIVED NYSCEF: 05/11/2018




            STATE  OF NEW YORK
            SUPREME   COURT: COUNTY                                                  OF MONROE



            RONNIE                 EDGESTON


                                                                                             Claimant,
                                  vs.
                                                                                                                                                              STIPULATION
            THE       OF ROCHESTER,
                        CITY           ROCHESTER       POLICE
            DEPARTMENT,    ROCHESTER     POLICE   OFFICERS
            PAUL ROMANO,    E. ALEXANDER,      MAZURKIEWICZ
            AND THOMAS    KIRK



                             IT     IS      HEREBY               STIPULATED                          AND AGREED                           by the        attorneys           for   the    claimant


            RONNIE                 EDGESTON                    and       for     the       CITY      OF ROCHESTER                             that:


                             1.                The     examination                 of claimant             pursuant          to General               Municipal             Law     Section         50-h


            that       was        previously             noticed         for     May        31,    2017,       has     been         adjourned             at claimant's             request        because


            claimant              is incarcerated              and       unable            to attend         the    hearing.


                             2.                Claimant          shall         be responsible                for    notifying           the     City      of Rochester              by    certified        or


            registered              mail,         return     receipt           requested,           within         thirty     (30)        days        after     claimant          has become


            available              to appear           and    to give           testimony            at the        50-h     examination.                      The    notification          shall      be sent


            to the       City           of Rochester            OfHee            of the      Corporation               Counsel             at 30 Church                Street,      Room       400A,
                                                                                                                                                 t

            Rochester,                  New       York       14614.            A    copy      of this        stipulation            must        be attached             to the      notification.


            Upon         receipt            of the       notification              the     City     will     have      ninety          (90)      days         in which        to schedule           the


            adjourned                   50-h      examination.


                             3.                Claimant          may           commence             an action             against         the    City         on the     above      claim      within        the
                                                                                                                                                                t

            applicable                  statute      of limitations                prior     to the City            conducting                a hearing             or physical          examination            of


            claimant              pursuant           to 50-h.
                                                                                                                                yl '
                   j
                             4.                If claimant           commences                    an action         against         the       City      and/or        any    of its agents,
                                                                                                                                                                                    I

            servants              or employees               before            submitting           to a 50-h           examimition,                  claimant/plaintiff'shall                     make      no




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            discovery           demands,           issue      shall       not   be joined,     and       the defendant(s)           time         to serve    an answer    shall


            extend      until     30 days          after      the completion            of claimant/plaintiffs                   50-h      examination.


                        5.           Nothing             herein        shall      be construed       as a waiver          of the        City's      rights   pursuant    to


            General       Municipal               Law        § 50-h.




            DATED:300                 e..     W                , 2017
                             Rochester,            New         York




                        THE        LAW            OFFICE                                                    BRIAN         F. CURRAN
                        OF                        FOTI                                                      Corporation           Counse


                             I(

            BY:                                                                                  BY:
                        NEL         W.      OUNTHER,                   Esq. 4                               PATIÈCK              BEATH,            Esq.
                        Attorneys           for     Claimant                                                Attorneys       for     City     of Rochester
                        16 W.       Main          Street,         Suite     236                             30 Church         Street,        Room         400A

                        Rochester,            New          York        14614                                Rochester,        New          York      14614

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